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10   Attorneys for Plaintiffs
11                                UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13   SHERRILL FARRELL, JAMES                         Case No.: 3:23-CV-04013-JCS
     GONZALES, JULIANNE “JULES” SOHN,
14   STEPHAN “LILLY” STEFFANIDES,                    CIVIL RIGHTS ACTION
     individually and on behalf of all others
15   similarly situated,                             CLASS ACTION
16            Plaintiffs,                            DECLARATION OF ELIZABETH KRISTEN IN
                            v.                       SUPPORT OF JOINT STIPULATION TO
17                                                   SUBSTITUTE CLASS COUNSEL & MOTION
     UNITED STATES DEPARTMENT OF                     FOR CLASS CERTIFICATION, FINAL
18   DEFENSE; LLOYD J. AUSTIN III,                   APPROVAL OF CLASS ACTION
     Secretary, United States Department of          SETTLEMENT, AND REASONABLE
19   Defense, in his official capacity;              ATTORNEYS’ FEES AND COSTS
     CHRISTINE WORMUTH, Secretary, United
20   States Army, in her official capacity;          Judge:      Hon. Joseph Spero
     CARLOS DEL TORO, Secretary, United              Date:       March 12, 2025
21   States Navy, in his official capacity; FRANK    Time:       9:30 a.m.
     KENDALL, Secretary, United States Air           Location:   Courtroom D, 15th Floor
22   Force, in his official capacity,
23           Defendants.
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     DECLARATION OF ELIZABETH KRISTEN                                   CASE NO.: 3:23-CV-04013-JCS
 1        I, Elizabeth Kristen, declare as follows:
 2           1.      I am counsel for Plaintiffs. I was a Senior Staff Attorney at Legal Aid at Work
 3   (LAAW) until February 2, 2025. As of February 18, 2025, I will begin serving as Legal Director of
 4   the California Women’s Law Center. I am a member in good standing of the State Bar of California
 5   and am admitted to the Northern District of California, among other courts.
 6           2.      I am providing this Declaration in support of the Joint Stipulation to Substitute Class
 7   Counsel and Plaintiffs’ Motion for Class Certification, Final Approval of Class Action Settlement,
 8   and Reasonable Attorneys’ Fees and Costs, in order to provide additional information about the
 9   California Women’s Law Center. I have personal knowledge of the facts contained in this
10   declaration and, if called as a witness, am competent to testify to those facts.
11                                California Women’s Law Center Expertise
12           3.      The California Women’s Law Center was founded in 1989. CWLC is dedicated to
13   advancing gender equity in California and beyond. CWLC represents clients in class actions and has
14   been appointed as class counsel in a number of matters including J.D., et al. v. Mt. Diablo Unified
15   School District, No. 24-cv-908 (N.D. Cal. 2024), Ollier v. Sweetwater Union High School District,
16   858 F. Supp. 2d 1093 (S.D. Cal. 2012), aff’d 768 F.3d 843 (9th Cir. 2014); and Cruz v. Alhambra,
17   No. 04-1460 (C.D. Cal. 2004).
18           4.      CWLC has represented veterans in a variety of legal matters and has maintained
19   projects focusing on the needs of women veterans. CWLC is committed to representing the class in
20   this matter.
21           5.      In my previous declaration in support of the Plaintiffs’ Motion for Preliminary
22   Approval, I detailed my class action experience. ECF No. 82-2 at ¶8. I will continue to competently
23   represent the class in my new role at CWLC.
24                                          Attorneys’ Fees and Costs
25           6.      The Settlement provides Plaintiffs’ counsel with $350,000 in reasonable attorneys’
26   fees and costs. The amount and distribution of attorneys’ fees and costs will not change as a result
27   //
28   //

     DECLARATION OF ELIZABETH KRISTEN                                        CASE NO.: 3:23-CV-04013-JCS
                                                      1
 1   of the substitution of CWLC for LAAW.
 2
 3   I declare under penalty of perjury under the laws of the State of California and of the United States
 4   that the foregoing is true and correct, and that this declaration was executed this 11th day of
 5   February 2025, in Napa, California.
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 8                                                                 ______________________
                                                                   Elizabeth Kristen
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10                                                                 Attorneys for Plaintiffs and
                                                                   Proposed Settlement Class
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     DECLARATION OF ELIZABETH KRISTEN                                        CASE NO.: 3:23-CV-04013-JCS
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